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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF COLORADO

 In re:                                                 )
                                                        )      Case No. 10-24238 HRT
 SVS HOLDINGS, INC.,                                    )
                                                        )      Chapter 11
              Debtor.                                   )


                 SMARTMATIC CORPORATION'S MOTION FOR
          CONVERSION OF CHAPTER 11 CASE TO CASE UNDER CHAPTER 7


              Smartmatic Corporation, by its successor in interest, Smartmatic USA Corporation

 (Smartmatic Corporation and Smartmatic USA Corporation are collectively referred to

 herein as “Smartmatic”), by and through its undersigned attorneys, hereby moves

 pursuant to sections 1112 of title 11 of the United States Code (the “Bankruptcy Code”),

 for entry of an order converting this Chapter 11 case to a case under Chapter 7, and states

 as follows1:

                                          PRELIMINARY STATEMENT

              1.            Certain insiders of the Debtor and other third parties received potential

 avoidable preferential transfers and/or fraudulent transfers prior to the commencement of

 this Chapter 11 case.                Despite filing its Chapter 11 petition more than two years ago, the

 Debtor has failed to advance this Chapter 11 case in any substantive way. The Debtor


 1
          Smartmatic is also filing a Motion for Authority and Standing to Prosecute Causes of Action on
 behalf of the Debtor or, in the Alternative, for Appointment of a Trustee (the “Standing Motion”) together
 with this Motion. Smartmatic requests that the Court grant the relief requested in the Standing Motion, in
 which case Smartmatic would withdraw the instant Motion without prejudice. But if the Court is not
 inclined to grant the Standing Motion, Smartmatic respectfully requests that the Court convert this
 bankruptcy case to a case under Chapter 7.

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 has not filed a Plan nor commenced any actions to recover potential avoidable transfers.

 As discussed in further detail below, because of the Debtor’s failure to prosecute such

 claims and the imminent expiration of the applicable statute of limitations, Smartmatic

 negotiated and entered into tolling agreements with potential defendants to preserve the

 estate’s claims.

           2.   By this Motion, Smartmatic seeks conversion of this bankruptcy case to a

 case under Chapter 7 to allow a trustee prosecute the foregoing claims on behalf of the

 estate.

                              JURISDICTION AND VENUE

           3.   This Court has jurisdiction over this Chapter 11 case pursuant to 28 U.S.C.

 §§ 157(a) and (b) and 1334(a) and (b). This matter constitutes a core proceeding under

 28 U.S.C. § 157(b)(2)(A), as this matter concerns the administration of the Debtor’s

 estate.

           4.   Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

                                      BACKGROUND

           5.   The Debtor filed its Voluntary Petition under Chapter 11 of the Bankruptcy

 Code on June 8, 2010 (the “Petition Date”). The Debtor continues to operate its business

 and possess its property as a debtor-in-possession in accordance with sections 1107 and

 1108 of the Bankruptcy Code.

           6.   No official committee of unsecured creditors has been formed in this case.




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        7.     The Debtor’s primary asset is its 100% equity interest in non-debtor

 Sequoia Voting Systems, Inc. (“Sequoia”). Sequoia provides electronic voting systems,

 election-related technologies and support services to state and local governments in the

 United States.

        8.     On or about September 18, 2007, the Debtor acquired all of the issued and

 outstanding shares of capital stock of Sequoia from Smartmatic in exchange for an

 Unsecured Promissory Note dated November 5, 2007 in the principal amount of $2

 million (the “Note”) and certain earn out payments.

        9.        Pursuant to a Note Purchase Agreement, dated May 28, 2008, among the

 Debtor, Smartmatic, and certain other persons party thereto (the “NPA”), and in

 settlement of certain litigation between the Debtor and Smartmatic concerning the Note,

 the Debtor acquired the Note from Smartmatic in exchange for certain cash payments and

 the rights to receive certain earn out payments of not less than $9 million in the aggregate

 through December 31, 2011.

        10.    The Debtor owed Smartmatic not less than $9,619,180.97 under the NPA as

 of the Petition Date.

 A.     The Dominion Transactions

        11.    Sequoia and Dominion Voting Systems Corporation ("Dominion Canada")

 are parties to an Asset Purchase Agreement dated July 15, 2009 (the "2009 APA"),

 pursuant to which Sequoia assigned to Dominion Canada its rights and obligations under

 certain contracts with the State of New York Executive Department, Office of General


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 Services and related leases and accounts receivable. In exchange, Dominion Canada

 agreed to pay Sequoia an aggregate of $2,366,000 in cash and certain contingent

 payments relating to future revenues under potential contracts with Nassau and New

 York Counties in New York.

        12.    On information and belief, based on discovery under Fed. R. Bankr. P.

 2004, Sequoia was facing severe cash flow and liquidity problems when it entered into

 the 2009 APA. As a result and on further information and belief, based on discovery

 under Fed. R. Bankr. P. 2004, Sequoia sold its most significant and profitable assets at a

 discount in order to meet pressing cash flow needs, such as payroll.

        13.    Shortly after the closing under the 2009 APA, Sequoia and Dominion

 Voting Systems, Inc. ("Dominion US" and together with Dominion Canada, collectively,

 "Dominion"), a subsidiary of Dominion Canada, began discussing the possibility of a

 larger deal between the two companies. In a March 5, 2010 letter of intent, Dominion US

 proposed to purchase substantially all of the assets of Sequoia (excluding accounts

 receivable, cash balances, and tax assets) for an aggregate purchase price of $9.5 million,

 consisting of $5 million in cash plus up to $4.5 million in contingent payments. In term

 sheets circulated around this time, Dominion US proposed to employ Blaine for one year

 at an annual salary of $120,000 plus $30,000 in other benefits.

        14.    After several months of negotiations, Sequoia and Dominion US entered

 into an Asset Purchase Agreement dated June 4, 2010 (the "2010 APA"). Under the 2010

 APA, Dominion US purchased substantially all of the assets of Sequoia (excluding


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 accounts receivable, cash balances, and tax assets) for a reduced purchase price

 consisting of a cash payment of approximately $3 million plus up to an aggregate of $4.5

 million in future payments contingent upon conditions that were unlikely to occur.

        15.    At approximately the same time, Dominion Canada and Blaine entered into

 an employment agreement on substantially better terms than provided in the March 5,

 2010 letter of intent. The Employment Agreement was for three years and provided

 Blaine with an annual salary of $350,000, annual living expenses of more than $50,000, a

 percentage of Dominion's revenue from non-US business generated by Blaine, together

 with a one-year salary and benefits severance package if he were terminated before the

 end of the three year term of the agreement.

        16.    During the time of the negotiations with Dominion, Sequoia received an

 offer from a prominent company in the elections machine industry to purchase its assets.

 Though Sequoia did not pursue this offer, Smartmatic believes that if Sequoia had

 pursued such offer, the competition for Sequoia’s assets would have provided a safeguard

 against a fire sale of Sequoia’s assets and would have resulted in a higher purchase price,

 including a higher guaranteed cash component of the purchase price. On information and

 belief, some Sequoia management preferred this third-party offer to a sale of Sequoia’s

 assets to Dominion.

        17.    Sequoia has received most of the cash consideration under the 2010 APA

 but none of the contingent payments. It is not expected that the contingent payments will

 be paid under the terms of the 2010 APA.


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        18.    Setting aside the $4.5 million contingent payments proposed by Dominion

 (which Plaintiff understands were unlikely to ever be paid), Sequoia sold substantially all

 of its assets to Dominion US for $3 million, i.e., $2 million less than the amount

 originally proposed by Dominion US and, upon information and belief, substantially less

 than a competing offer received from a third party. In contrast, the employment

 agreement with Blaine, who was one of Sequoia's principal negotiators on the 2010 APA,

 improved substantially: salary from $120,000 to $350,000; annual benefits of $30,000 to

 more than $50,000; a one-year employment term to a three-year employment term; and

 the introduction of a one-year severance package. The Debtor did not receive a

 reasonably equivalent value for the assets sold under the 2010 APA.

        19.    The asset sales by Sequoia in the 2009 APA and the 2010 APA may

 constitute avoidable fraudulent transfers recoverable from Dominion Canada and

 Dominion US, respectively, under the Bankruptcy Code and applicable state law.

 B.     Transfers to Jack Blaine

        20.    In the two years preceding the Petition Date (the “Insider Period”), Jack

 Blaine (“Blaine”) was an officer and director of both the Debtor and Sequoia.

 Accordingly, Blaine was an insider of the Debtor under section 101(31) of the

 Bankruptcy Code.

        21.    On information and belief, based on the Statement of Financial Affairs filed

 by the Debtor on June 22, 2010, the Debtor made prepetition transfers to Blaine during

 the Insider Period aggregating not less than $303,047. At the time of these transfers,


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 Blaine was purportedly a creditor of the Debtor. In addition, the Debtor did not receive a

 reasonably equivalent value for these transfers.

        22.    Accordingly, the transfers may support causes of action under sections 547,

 548, and 550 of the Bankruptcy Code. The existence of such claims against Blaine may

 justify the disallowance of Blaine’s claims against the Debtor’s estate pursuant to section

 502 of the Bankruptcy Code.

 C.     The Debtor’s Prosecution of this Case

        23.    Other than routine administrative tasks, such as the filing of schedules,

 statement of financial affairs and monthly operating reports, the Debtor has done little to

 prosecute this Chapter 11 case. The Debtor has not proposed a plan of reorganization or

 taken any other substantive action to administer the Debtor’s estate.

        24.    In particular, the Debtor has failed to investigate and prosecute causes of

 action for the benefit of creditors, including the causes of action described above. The

 majority of the activity in this case has involved investigation by Smartmatic, the

 Debtor’s largest unsecured creditor, into potential causes of action that the Debtor could

 pursue for the benefit of creditors.

        25.    Certain statutes of limitations under section 546 of the Bankruptcy Code

 were set to expire on or about June 8, 2012, the second anniversary of the Petition Date,

 which would have resulted in the loss to the Debtor’s estate of valuable causes of action.

 In order to avoid a forfeiture of these valuable rights, which represent the principal means

 of recovery for unsecured creditors in this case, Smartmatic entered into tolling


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 agreements with Dominion, the Debtor, and Blaine. As of the date of this Motion, the

 tolling period for the prosecution of the claims and causes of action described above will

 expire on December 9, 2012.

                                        ARGUMENT

        26.    If the Court does not grant the relief requested in the Standing Motion, see

 supra footnote 1, Smartmatic requests that this Court convert this bankruptcy case to a

 Chapter 7 case. An independent trustee in Chapter 7 would have the power to pursue the

 Avoidance Actions and also bring this case to a timely resolution.

        27.    Under the conversion statute as revised by the Bankruptcy Abuse

 Prevention and Consumer Protection Act of 2005, an interested party seeking dismissal

 or conversion of a Chapter 11 case to Chapter 7 must show cause. This Court has broad

 discretion in assessing if cause to dismiss or convert exists. See Hall v. Vance, 887 F.2d

 1041, 1044 (10th Cir. 1989). If cause is shown, the debtor can put on evidence of

 “unusual circumstances” why dismissal or conversion would not be in the best interests

 of creditors. If no such unusual circumstances exist, the court must either dismiss or

 convert the case. See 11 U.S.C. § 1112(b); In re ARS Analytical, LLC, 433 B.R. 848,

 861-62 (Bankr. D.N.M. 2010) (reciting process for dismissal or conversion under revised

 section 1112(b)).

        28.    Multiple causes support the conversion of this bankruptcy case to Chapter

 7, including several of the enumerated reasons under section 1112(b)(4). First, according

 to the Debtor’s statement of financial affairs and the monthly reports filed to date, the


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 Debtor had no income for the two years preceding the Petition Date and has generated no

 income during the course of this Chapter 11 case. The Debtor has expended more than

 $26,000 in postpetition attorneys’ fees, though there is no reasonable prospect of

 rehabilitation. See ARS Analytical, 433 B.R. at 862 (rehabilitation means more than

 reorganization and “contemplates the successful maintenance or reestablishment of the

 debtor’s business operations”). Thus, cause exists to convert this case to Chapter 7 under

 section 1112(b)(4)(A) (for “substantial or continuing loss to or diminution of the estate

 and the absence of a reasonable likelihood of rehabilitation”).

        29.    Cause also exists under section 1112(b)(4)(B) for the Debtor’s gross

 mismanagement of the estate. The Debtor’s near total inactivity during the duration of

 this case has resulted in the imminent running of the statute of limitations on Chapter 5

 claims. Such claims represent the Debtor’s principal asset, yet the Debtor has not, to

 Smartmatic’s knowledge, invested any substantive time and attention to investigating and

 prosecuting these claims.

        30.    Lastly, section 1112(b)(4)(J) relating to the debtor’s “failure to file a

 disclosure statement, or to file or confirm a plan, within the time fixed by this title or by

 order of the court,” also provides cause for conversion. The Debtor has failed to file any

 plan or disclosure statement, despite having had the benefit of Chapter 11 for more than

 two years. The inability to effectuate a plan is a foregone conclusion where, as is the

 case here, the debtor is merely a shell corporation. See, e.g., Hall, 887 F.2d at 1044

 (“[C]ourts have applied this ground [inability to effectuate a plan] where the debtor is a


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  corporate shell.”); In re Economy Cab & Tool Co., 44 B.R. 721, 725 (Bankr. D. Minn.

  1984) (same).

         31.      Because cause exists, the statute mandates dismissal or conversion unless

  the Debtor can demonstrate unusual circumstances why dismissal or conversion is not in

  the best interests of creditors. The Debtor can demonstrate no such unusual

  circumstances because conversion would be in the best interests of creditors. Moreover,

  the Debtor cannot satisfy section 1112(b)(2)(A) because there is no likelihood of plan

  confirmation within a reasonable period of time.

         32.      Having satisfied the requirements for dismissal or conversion, Smartmatic

  submits that conversion to Chapter 7 is the appropriate remedy in this case. Courts

  should consider a number of factors in deciding between dismissing or converting a

  Chapter 11 case, including the existence of preferential payments available for

  distribution to creditors; loss of rights occasioned upon dismissal of the case; ability of a

  Chapter 7 trustee to reach assets for creditors; and the preferences of creditors. See In re

  Gollaher, 2011 WL 6176074, *3-*4 (10th Cir. B.A.P. 2011). In this case, these factors

  support conversion to Chapter 7 where a trustee could pursue the Avoidance Actions for

  the benefit of creditors. Smartmatic supports conversion to Chapter 7 instead of

  dismissal of this case.

         WHEREFORE, Smartmatic respectfully requests that the Court (a) convert this

  case to a case under Chapter 7, and (b) grant such additional relief as the Court deems

  appropriate.


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       DATED: September 21, 2012

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